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                      IN THE UNITED STATES DISTRICT COURT FOR THE

                                 EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division

    UNITED STATES OF AMERICA                      )
                                                  )       1:16 cr 265
             v.                                   )
                                                  )
    NICHOLAS YOUNG                                )

                             Government's First Amended List of Exhibits

#      ###        Exhibit

1      100        V4Vendetta@mail.com subscriber information

1      101        10/27/2014 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Safe in town” with
                  Photo of Libyan Consulate attached

1      102        10/29/2014 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Travel.”

1      103        10/30/2014 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Travel2”with Photo
                  of Green Birds and Two Photos of a Mosque interior.

1      104        11/20/2014 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Safe” describing
                  making it to Dawlah.

1      105        01/07/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Christmas
                  greetings…just kidding.”

1      106        01/29/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: missing the little
                  things.”

1      107        03/02/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com No Subject with Photo of a
                  car and several individuals attached.

1      108        05/10/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com No Subject

1      109        06/21/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Need advice.”

1      110        07/14/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Need advice.”

1      111        08/13/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Need advice.”

1      112        10/01/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Need advice.”

1      113        11/15/2015 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Salam.”

1      114        01/14/2016 Email V4Vendetta@mail.com to Essakobayashi@mail.com No Subject.

1      115        03/05/2016 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Re: Yeah, they
                  were asking about you..”


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    ###                                     Exhibit

1         116   04/18/2016 Email V4Vendetta@mail.com to Essakobayashi@mail.com “Subject: Salam.”

1         200   Essakobayashi@mail.com subscriber information

1         201   12/17/2014 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Safe.”

1         202   12/17/2014 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Pics.”

1         203   12/26/2014 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Christmas
                greetings…just kidding.”

1         204   01/08/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Christmas
                greetings…just kidding.”

1         205   02/03/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: missing the
                little things.”

1         206   02/18/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com No Subject

1         207   04/10/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com Subject: Re:

1         208   04/25/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com Subject: Re:

1         209   05/08/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com No Subject

1         210   05/13/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com Subject: Re:

1         211   06/13/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Need advice.”

1         212   06/21/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Need advice.”

1         213   07/01/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com No Subject.

1         214   07/20/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Need Advice.”

1         215   09/07/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Need Advice.”

1         216   10/13/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Need Advice.”

1         217   11/05/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Need Advice.”

1         218   11/10/2015 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Salam.”

1         219   02/16/2016 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Yeah, they
                were asking about you..”

1         220   02/16/2016 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Re: Salam.”

1         221   06/14/2016 Email Essakobayashi@mail.com to V4Vendetta@mail.com “Subject: Ramadan
                Mubarak.”

1         222   07/14/2016 Email Essakobayashi@mail.com to V4Vendetta@mail.com No Subject.

1         300   Malik the American subscriber information

1         301   06/15/2015 Email MALIKtheAmerican@mail.com to Mohamed_2060@yahoo.com “Subject: Salam
                alikom.”




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    ###                                        Exhibit

1         302   06/28/2015 Email MALIKtheAmerican@mail.com to EMAD_lias@yahoo.com “Subject: Salam
                Alikom.”

1         303   06/28/2015 Email MALIKtheAmerican@mail.com to ifaga79@yahoo.com “Subject: Salam Alikom.”

1         304   06/28/2015 Email MAILER-DAEMON@mail.gmx.com to MALIKtheAmerican@mail.com
                indicating that the following email address, ifaga79@yahoo.com, failed.

1         305   06/28/2015 Email MALIKtheAmerican@mail.com to DRMICHLE2002@yahoo.com. Subject: Salam
                Alikom.”

1         306   09/07/2015 Email MALIKtheAmerican@mail.com to Mohamed_2060@yahoo.com “Subject: Salam
                alikom.”

1         307   09/07/2015 Email MALIKtheAmerican@mail.com to EMAD_lias@yahoo.com “Subject: Salam
                Alikom.”

1         308   09/07/2015 Email MALIKtheAmerican@mail.com to DRMICHLE2002@yahoo.com “Subject:
                Salam Alikom.”

1         401   Freedomforlibya 777 email 6/11/2011

1         402   Freedomforlibya 777 email 6/13/2011

1         403   Freedomforlibya 777 email 6/15/2011

1         404   Freedomforlibya 777 email 6/20/2011

1         405   Freedomforlibya 777 email 7/22/2011

1         406   Freedomforlibya 777 email 8/15/2011

1         407   Freedomforlibya 777 email 8/18/2011

1         408   FreedomforLibya emails, in MS Word (cleaned up) - all

1         410   Young affidavit re: creation of Freedomforlibya777 account

1         600   Microsoft record re: flyingdutchman1979@hotmail.com

1         701   Google Account Information for Argeltal777

1         702   Record of Purchase of Threema App by Argeltal777

2         101   On-Line Undercover Threema message capture
                “I pray the situation is better than the news portrays.”

2         102   On-Line Undercover Threema message capture “Threema ID”

2         103   On-Line Undercover Threema message capture “We believe she is showing signs of being pregnet”

2         104   On-Line Undercover Threema message capture “I don’t pay attention to kafir news . . .”

2         105   On-Line Undercover Threema message capture “So there was something I need help with . . .”

2         106   On-Line Undercover Threema message capture “Weve been using threema for a while now . . .”




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    ###                                          Exhibit

2         107   On-Line Undercover Threema message capture
                “Simce the blessed operation in Belgium a while ago . . .”

2         108   On-Line Undercover Threema message capture
                “You can see Why I didn’t want to say to you all this on email.”

2         109   On-Line Undercover Threema message capture
                “Their desire to fight for their religion is a inspiration . . .”

2         110   On-Line Undercover Threema message capture “Congratulations on your child”

2         111   On-Line Undercover Threema message capture “There is a large base in Djibouti.”

2         112   On-Line Undercover Threema message capture
                “The brothers in UK stop getting codes to save for hijrah . . .”

2         113   On-Line Undercover Threema message capture
                “Pls tell me none of brothers we know got entrap by kufar.”

2         114   On-Line Undercover Threema message capture
                “I hate that they bothered u because of choices I make.”

2         115   On-Line Undercover Threema message capture “. . . brother my heart dropped a little bit . . .”

2         116   On-Line Undercover Threema message capture “I have not heard anything new about Djibouti?”

2         117   On-Line Undercover Threema message capture “No one we know got entrapped.”

2         118   On-Line Undercover Threema message capture “Yea, I’m careful.”

2         119   On-Line Undercover Threema message capture “Yeah, the bases they have are strong.”

2         120   On-Line Undercover Threema message capture “…oh, and YOU are the smart one.”

2         121   On-Line Undercover Threema message capture
                “. . . The brothers in Sudan will be grateful for your help.”

2         122   On-Line Undercover Threema message capture “Rafida rats.”

2         123   On-Line Undercover Threema message capture
                “Salaam brother. So much happen here last few days . . .”

2         124   On-Line Undercover Threema message capture “Thing become very busy here since coup . . .”

2         125   On-Line Undercover Threema message capture “Glad you weren’t on ops for long.”

2         126   On-Line Undercover Threema message capture
                “No one in particular. I was talking to a very smart sister . . .”

2         127   On-Line Undercover Threema message capture “Respond to verify receipt…”

2         128   On-Line Undercover Threema message capture “End of MSG on this number”

2         129   On-Line Undercover Threema message capture “. . . may Allah reward you for efforts.”

2         130   On-Line Undercover Threema message capture
                “glad it came through. Getting rid of device now..fo real.”



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    ###                                       Exhibit

3         101   Truck seizure Aug 2016 Photo of Truck on Tow Truck

3         102   Photo of Phone GX3-120 from under truck

3         103   Photo of Phone GX 3-120 from under truck - close up

3         104   Email to V4Vendetta w/o header info

3         105   Malik the American handwritten on email to Mohamed in Libya

3         108   1B402 - CBP register property taken abroad Aug 11

3         109   1B400 - CBP Form 6059B, May 2011 “France/Egypt/Libya”

3         110   SS Tie Tac

3         115   Photo of truck bumper sticker “Libya Civil War Vet”

3         117   Fedex stored value card (1)

3         118   Fedex stored value card (2)

3         119   Fedex stored value card (3)

3         120   Fedex stored value card (4)

3         125   Virgin Mobile account summary

3         200   ZTE phone from tow truck - IMEI ending in 0874

3         203   Threema Screen capture 1B18 - Threema contacts

3         204   Threema Screen capture 1B18 Threema test messages July 14

3         205   Threema Screen capture 1B18 A Late Eid Mubarak

3         206   Threema Screen capture 1B18 "So there was something I need help with"

3         207   Threema Screen capture 1B18 "We've been using threema for a while now"

3         208   Threema Screen capture 1B18 "what we need is more of the Google codes"

3         209   Threema Screen capture 1B18 18 July & 25 July 1447

3         210   Threema Screen capture 1B18 "I see your messages were from the 18th"

3         211   Threema Screen capture 1B18"Why were the brothers in the UK told to stop?

3         212   Threema Screen capture 1B18"many sting operations"

3         213   Threema Screen capture 1B18"The brothers in UK"

3         214   Threema Screen capture 1B18"Please tell me none"

3         215   Threema Screen capture 1B18"My heart dropped little bit"

3         216   Threema Screen capture 1B18"No one we know got entrapped"

3         217   Threema Screen capture 1B18 "Yeah I'm careful"


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    ###                                         Exhibit

3         218      Threema Screen capture 1B18 29 July 0803

3         219      Threema Screen capture 1B18 "and YOU are the smart on"

3         220      Threema Screen capture 1B18 29 July 0826 "The brothers in Sudan will be grateful"

3         221      Threema Screen capture 1B18 30 July 1401 "So much has happened"

3         222      Threema Screen capture 1B18 "things became very busy here

3         223      Threema Screen capture 1B18 Aug 2 1205 Glad you weren't on ops for long

3         224      Threema Screen capture 1B18 "To be honest I would like to buy a slave"

3         225      Threema Screen capture 1B18 "let me know if you find any brothers from Abu Salim Martyrs"

3         226      Threema Screen capture 1B18: Aug 2 "As always be safe and Alla"

3         300      Sony Cyber Shot Camera seized from truck

3         302      Photo Young: robed w gun & knife:

4         101      Truck registration

4         102      Paper scrap w Threema Account

4         104      Roti Falafel ad

4         105      Drivers License

4         106      Backpack inside view with receipts

4         107      Best Buy Receipt

4         108      Verizon gift card

4         109      ZTE AT&T GoPhone packaging IMEI ending 0874

4         200      Phone on person Verizon G'z, 571.236.8195

4         203      Graphic from phone: Finish what Hitler started

4         300      Booking photo of Nicholas Young's tattoo

5         101      Recording of Interview with Nicholas Young: 12/3/15

5         101-1    Clip 1 from recording of interview with Nicholas Young: 12/3/15

5         101-1T   Transcript of Clip 1 from recording of interview with Nicholas Young: 12/3/15

5         101-2    Clip 2 from recording of interview with Nicholas Young: 12/3/15

5         101-2T   Transcript of Clip 2 from recording of interview with Nicholas Young: 12/3/15

5         101-3    Clip 3 From recording of interview with Nicholas Young: 12/3/15

5         101-3T   Transcript of Clip 3 from recording of interview with Nicholas Young: 12/3/15

5         101-4    Clip 4 from recording of interview with Nicholas Young: 12/3/15


                                                          6
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    ###                                         Exhibit

5         101-4T   Transcript of Clip 4 from recording of interview with Nicholas Young: 12/3/15

5         101-5    Clip 5 from recording of interview with Nicholas Young: 12/3/15

5         101-5T   Transcript of Clip 5 from recording of interview with Nicholas Young: 12/3/15

5         101-6    Clip 6 from recording of interview with Nicholas Young: 12/3/15

5         101-6T   Transcript of Clip 6 from recording of interview with Nicholas Young: 12/3/15

5         101-7    Clip 7 from recording of interview with Nicholas Young: 12/3/15

5         101-7T   Transcript of Clip 7 from recording of interview with Nicholas Young: 12/3/15

5         102      Recording of interview with Nicholas Young: December 5, 2015

5         102-T    Transcript of recording of interview with Nicholas Young: December 5, 2015

5         301-T    Transcript of interview with Nicholas Young, August 3, 2016 partial

5         301-1    1st clip from interview with Nicholas Young, August 3, 2016

5         301-2    2nd clip from interview with Nicholas Young, August 3, 2016

5         301-3    3rd clip from interview with Nicholas Young, August 3, 2016

5         301-T1   Transcript of 1st clip from August 3, 2016 video of interview of Nicholas Young

5         301-T2   Transcript of 2nd clip from August 3, 2016 video of interview of Nicholas Young

5         301-T3   Transcript of 3rd clip from August 3, 2016 video of interview of Nicholas Young

5         302      Miranda form, August 3, 2016

5         303      Photo Shown to Young on 8/3/16 - NOT FILED PUBLICLY

6         101      07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-1    Clip 1 From 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-1T   Transcript of Clip 1 From 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-2    Clip 2 From 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-2T   Transcript of Clip 2 From 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-3    Clip 3 from 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         101-3T   Transcript of Clip 3 from 07/27/2014 Recording of Mo's meeting with Nicholas Young

6         102      08/10/2014 Recording of Mo's meeting with Nicholas Young

6         102-1    Clip 1 From 08/10/2014 Recording of Mo's meeting with Nicholas Young

6         102-1T   Transcript of Clip 1 From 08/10/2014 Recording of Mo's meeting with Nicholas Young

6         102-2    Clip 2 From 08/10/2014 Recording of Mo's meeting with Nicholas Young

6         102-2T   Transcript of Clip 2 From 08/10/2014 Recording of Mo's meeting with Nicholas Young


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    ###                                        Exhibit

6         103      09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-1    Clip 1 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-1T   Transcript of Clip 1 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-2    Clip 2 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-2T   Transcript of Clip 2 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-3    Clip 3 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-3T   Transcript of Clip 3 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-4    Clip 4 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-4T   Transcript of Clip 4 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-5    Clip 5 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-5T   Transcript of Clip 5 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-6    Clip 6 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-6T   Transcript of Clip 6 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-7    Clip 7 From 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         103-7T   Transcript of Clip 7 from 09/11/2014 Recording of Mo's meeting with Nicholas Young

6         104      10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-1    Clip 1 From 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-1T   Transcript of Clip 1 from 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-2    Clip 2 From 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-2T   Transcript of Clip 2 from 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-3    Clip 3 From 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         104-3T   Transcript of Clip 3 from 10/02/2014 Recording of Mo's meeting with Nicholas Young

6         105      10/10/2014 Recording of Mo's meeting with Nicholas Young

6         105-1    Clip 1 From 10/10/2014 Recording of Mo's meeting with Nicholas Young

6         105-1T   Transcript of Clip 1 from 10/10/2014 Recording of Mo's meeting with Nicholas Young

6         106      10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-1    Clip 1 From 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-1T   Transcript of Clip 1 from 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-2    Clip 2 From 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-2T   Transcript of Clip 2 from 10/16/2014 Recording of Mo's meeting with Nicholas Young


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    ###                                        Exhibit

6         106-3    Clip 3 From 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-3T   Transcript of Clip 3 from 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-4    Clip 4 From 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-4T   Transcript of Clip 4 from 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-5    Clip 5 From 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         106-5T   Transcript of Clip 5 from 10/16/2014 Recording of Mo's meeting with Nicholas Young

6         107      10/17/2014 Recording of Mo's meeting with Nicholas Young

6         107-1    Clip 1 From 10/17/2014 Recording of Mo's meeting with Nicholas Young

6         107-1T   Transcript of Clip 1 from 10/17/2014 Recording of Mo's meeting with Nicholas Young

6         108      10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-1    Clip 1 From 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-1T   Transcript of Clip 1 from 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-2    Clip 2 From 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-2T   Transcript of Clip 2 from 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-3    Clip 3 From 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         108-3T   Transcript of Clip 3 from 10/23/2014 Recording of Mo's meeting with Nicholas Young

6         109      10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-1    Clip 1 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-1T   Transcript of Clip 1 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-2    Clip 2 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-2T   Transcript of Clip 2 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-3    Clip 3 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-3T   Transcript of Clip 3 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-4    Clip 4 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-4T   Transcript of Clip 4 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-5    Clip 5 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-5T   Transcript of Clip 5 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-6    Clip 6 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-6T   Transcript of Clip 6 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-7    Clip 7 From 10/25/2014 Recording of Mo's meeting with Nicholas Young


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    ###                                           Exhibit

6         109-7T   Transcript of Clip 7 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-8    Clip 8 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-8T   Transcript of Clip 8 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-9    Clip 9 From 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         109-9T   Transcript of Clip 9 from 10/25/2014 Recording of Mo's meeting with Nicholas Young

6         110-1    Clip 1 from 10/09/2014 Recording of Mo's meeting with Nicholas Young

6         110-1T   Transcript of Clip 1 from 10/09/2014 Recording with Nicholas Young

6         200      Verizon certificate of authenticity

6         201      Mo text message

6         202      Pen Register Order

6         203      Verizon record of Young’s text message to Mo, 11/20/14

7         101      Best Buy surveillance tape

7         101-1    Best Buy surveillance video clip 1

7         101-2    Best Buy surveillance video clip 2

7         101-3    Best Buy surveillance video clip 3

7         102      Best Buy record of sale of gift cards

7         201a     FedEx video surveillance still frame from 10/25/14

7         201b     FedEx video surveillance still frame from 10/25/14

7         201c     FedEx video surveillance still frame from 10/25/14

7         201d     FedEx video surveillance still frame from 10/25/14

7         202a     FedEx video surveillance still frame from 12/17/14

7         204a     FedEx video surveillance still frame from 01/08/15

7         205a     FedEx video surveillance still frame from 02/03/15

7         205b     FedEx video surveillance still frame from 02/03/15

7         206      (Intentionally Omitted)

7         207a     FedEx video surveillance still frame from 2/18/15

7         207b     FedEx video surveillance still frame from 2/18/15

7         209a     FedEx video surveillance still frame from 4/25/15

7         209b     FedEx video surveillance still frame from 4/25/15



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    ###                                       Exhibit

7         211a   FedEx video surveillance still frame from 5/13/15

7         211b   FedEx video surveillance still frame from 5/13/15

7         211c   FedEx video surveillance still frame from 5/13/15

7         212a   FedEx video surveillance still frame from 6/13/15

7         212b   FedEx video surveillance still frame from 6/13/15

7         213a   FedEx video surveillance still frame from 6/21/15

7         213b   FedEx video surveillance still frame from 6/21/15

7         214a   FedEx video surveillance still frame from 7/1/15

7         216a   FedEx video surveillance still frame from 2/16/16

8         101    Ciaphas Cain Facebook Account post: Hunting Humans: Where Them Zombies At?

8         102    Ciaphas Cain Facebook Account post: Hunting Humans: Start them Young (p378)

8         103    Ciaphas Cain Facebook Account profile: Abu Musab w blacked out face (p424)

8         104    Ciaphas Cain Facebook Account: Link to YouTube Screw Infidels (p74)

8         105    YouTube Music Video “Screw Infidels” screenshot

8         106    YouTube Music Video “Screw Infidels”

8         107    Ciaphas Cain Facebook Account screenshot       May 23, 2011

8         108    Ciaphas Cain Facebook Account: Link to Emerson Begolly arrest

8         109    YouTube: FBI: Man Known Online as "Alshishani" Bites FBI Agent - wtae

8         110    Ciaphas Cain Facebook Account: Photo of Charles

8         112    Facebook account information for Ciaphas Cain account

8         113    Ciaphas Cain Facebook Account: Link to The Light Pt. 40 (Satanic Leaders Run The World) 6/10/12

8         114    Ciaphas Cain Facebook Account: Link to The Light Pt 17 (The Face Of Zionism) 3/1/14

8         115    Ciaphas Cain Facebook Account: Ciaphas Cain shared The Light Revelation's Photo, 12/25/15

8         500    LiveLeak - summary of Dusselkamp user

8         501    LiveLeak: Jordanian Pilot (reference to YouTube video)

8         502    LiveLeak: Jordanian Pilot got what was coming to him

8         503    LiveLeak: Of course ISIS are Muslims

8         504    LiveLeak: Disbelief of the Koran

8         505    LiveLeak: Thumbs Up on a Dozen ISIS channels

8         507    Liveleak: You Misguided Kafir


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     ###                                     Exhibit

8          510   Liveleak: 5/21/11: "Got back early and in one piece"

9          100   Photo of Ali Al-Timimi

9          101   Photo of Zachary Chesser

9          102   Photo of Saleh Al-Barmawi

9          103   Photo of Amine El-Khalifi

9          104   Photo of Liban Mohamed

9          105   Photo of Hicham Hall

9          106   Photo of Peshwaz Waise

9          107   Photo of Tejpal Singh

9          108   Photo of Farooque Ahmed

10         000   Photo of Front of House

10         100   2016 laptop

10         101   CART report laptop

10         103   UBL drawing

10         105   Horseman w Caliphate flag

10         106   ISIS map of the world

10         109   ISIS Executioner the Bulldozer

10         202   UBL video

10         203   Terrorism Manual

10         204   Flag - Caliphate

10         205   suicide bombers marching

10         206   masked terrorists

10         207   Warrior with Bloody sword & flag

10         208   Hourglass: many into 1 caliphate

10         220   5_Tattoos.pps

10         230   The Alliance between Nazis & Islamists

10         231   Mufti & Hitler

10         232   Mufti inspecting troops

10         233   Mufti reviewing troops2

10         234   Mufti shooting


                                                       12
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     ###                                          Exhibit

10         235     Mufti saluting troops

10         236     Mufti portrait

10         237     Bosnian troops reading Islam und Judentun

10         238     Bosnian Islamic troops

10         239     Bosnian Islamic troops2

10         240     Mufti on magazine cover

10         241     God Bless Hitler

10         242     Skorzeny

10         250     Cartoon Jew directing USA tank

10         251     Cartoon Jew directing Colin Powell

10         252     Jewish swine

10         303     iPod List - ISIS nasheeds 1

10         304     iPod List - ISIS nasheeds 2

10         305     iPod List - ISIS nasheeds 3

10         305-T   Translation of nasheed on 10-305

10         400     10 long guns

10         405     Assault rifle - serial number CM19374

10         420     Seven pistols

10         421     One .45 caliber Kimber handgun

10         428     Photos of ammunition (2)

10         430     Night vision scope S/N 30284691

10         431     Rifle scopes (3)

10         434     Night Vision kit

10         435     Knives - metal (28)

10         459     Knife with Nazi Swastika in handle

10         465     Bayonets (4)

10         470     Swords (7)

10         480     Knives - plastic/polymer (4)

10         486     Dagger

10         490     Cutting weapons, misc (10)


                                                            13
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     ###                                         Exhibit

10         495    Knife with “Meine Ehre Heist Treue” etched on blade, with SS chain sheath

10         500    Body Armor (approximately 60 pieces)

10         532    Ballistic mask

10         532A   Young wearing facemask (photo)

10         603    Grenade Ignition Kit

10         604    Thermite Grenade (photo only)

10         605    Grenades (5)

10         620    Bug detector

10         650    Cell phones (approximately 18)

10         700    Hitler portrait [photo only]

10         701    SS Hitlers Instrument of Terror

10         702    SS books

10         703    SS Tie tac case [photo only]

10         706    Alert Roster

10         710    Nazi belt buckle

10         711    Hitler: no more Mr. Nice Guy

10         714    German flag

10         715    Dusselkamp Locker (2 photos)

10         716    Secret squirrel patch

10         801    Western Union Receipt 10-30-2008

10         803    Western Union Simon Belmont [photo only]

10         804    rudolph von waldron drug order

10         805    Von Waldron Western Union order 7/15/15

10         806    WMATA Denial of Leave emails

10         807    State Dept letter 7/28/11 re: return of armor

10         810    Young passport.pdf

10         812    Grammaticus Afton Arms receipt

10         814    Prayer for Mom, Dad, Hitler, Saddam, Skorzeny; the Mufti

10         817    Sash w Arabic writing

10         818    Anwar Awlaki dvd set: Hereafter


                                                           14
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     ###                                       Exhibit

10         820   Unconventional Warfare Devices Techniques US Army manual

10         821   Warning Signs of Terrorist Events

10         822   Awlaki Hereafter Volume 2 (Photo only)

10         823   Libyan Customs seizure form

10         824   Paypal invoice for night vision scope

10         825   DTRA access badges (photo only)

10         826   Boost Mobile receipt 12/2/11 Simon Belmont (photo only)

10         827   Virgin Mobile account activation form (photo only)

10         850   Inspire - Fall 2010 Issue 2 (paper found at residence)

10         860   Hunter

10         861   Serpents Walk

10         862   Who Rules America - - [photo only]

10         863   White Power music

10         900   DVD Nazis by Swastika Flag

10         903   Young with pistol- Nazi uniform

10         905   Young by Swastika flag

10         907   Young w SS death's head hard hat

10         908   Young w SS death's head soft hat

11         101   Khalil recording of meeting w Young, 1/26/12

11         102   Khalil recording of meeting w Young, 2/11/12

11         103   Khalil recording of meeting w Young, 2/13/12

11         104   Khalil recording of meeting w Young, 2/26/12

11         105   Khalil recording of meeting w Young, 4/27/12

11         202   Khalil notes by Khalil

11         220   Young message to Khalil, 4/20/13

11         400   2012 truck photo FRI-KRP

11         401   Israeli flag doormat photo

11         600   Sprint subscriber information for Otis Driftwood

13         101   Information for Prospective Members of the National Alliance

13         102   Free Speech - October 2000


                                                         15
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     ###                                         Exhibit

13         103   Heritage and Destiny - Fall 2000

13         104   What is the National Alliance

13         105   Serpent's Walk – Hard Copy

13         400   MWATA PD Chief Taborn Letter re: Benton

14         100   The Book of Jihad

14         101   Inspire, Summer 2010

14         102   Inspire, Fall 2010 E

14         103   Inspire, Winter 2010

14         104   Inspire, November 2010 (Special Issue)

14         105   Inspire March 2011

14         106   How to Make Semtex & other explosives)

14         112   Young as Nazi w old Nazi - 28 Jan 06

14         113   Young as Nazi w Swastika - 28 Jan 06

14         114   Heil Hitler not Young - 28 Jan 06

14         116   Young in Muslim garb - sitting - 2/2/06

14         117   Young w Keffiyeh - - 2/2/06

14         118   Young w Keffiyeh - 2/2/06

14         119   Young w Keffiyeh & rifle - 2/2/06

14         120   Hunting Humans - Field 7/15/2010

14         121   Hunting Humans - Field 5 7/16/2010

14         122   Hunting Humans - Field 8 7/16/2010

14         123   Hunting with Kaffiyeh - Field 6 7/16/2010

14         124   Hunting with Kaffiyeh - Field 7 7/16/2010

14         134   Demjanjuk.bmp

14         135   Israel is the real Devil - flag w swastika

14         140   Email, 11/23/11, herebydragons777 to Grammaticus

14         141   Screenshots of YouTube Channel alex7263

14         180   List of Websites Visited by Young (partial)

15         201   Comparison, Abu Musab & Young profile photo 22 Sep 13

16         000   Nicholas Caslen Case Timeline


                                                           16
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     ###                                        Exhibit

16         001   List of Grand jury subpoenas

16         002   SA Caslen's description of Videos on YouTube channel Alex7263

16         101   Body Armor at Dulles Airport 5/24/11 Photo

16         102   Nicholas Young Passport at Dulles Airport 5/24/11 Photo

16         103   Email Grammitcus to Tiffany Washington re: leave 8/11

16         105   MWATA PD Code of Honor

16         106   Young's Oath of Office at WMATA PD

16         200   Photos of Young’s belongings 4/5/11

16         201   CBP Form 4457 - Customs Dec & Cert. of Registration for Personal Effects Taken Abroad, 4/5/11

16         401   WMATA - B.A.S.S. training slides (excerpts)

16         402   WMATA - P.A.T.R.I.O.T training slides (excerpts)

16         407   MWATA Application by Young

17         100   Paul Lee CV (CART)

                                                               Respectfully submitted,

                                                               Dana J. Boente
                                                               United States Attorney

                                                      By:                     /s/               .
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2017, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send a notification of filing (“NEF”) to

counsel of record for the defense.



                                             By:                   /s/               .
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